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 2
     MEKAL FARUKI
     2300 Auburn Blvd. Unit 116
                                                                       tFILEDJ
     Sacramento, CA 95821
     (916) 698-5541
 3
     Plaintiff In Propria Persona
 4

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 8
                                       UNITED STATES DISTRICT COURT
 9                                               FOR THE
                                      EASTERN DISTRICT OF CALIFORNIA
10
                                                           ~~ 2»-oJ-0fiJl n:sc v¥-D Cps\
11    MEKAL FARUKI                                        Case No: TBA                :J
12                       Plaintiff,                       COMPLAINT FOR VIOLATION OF THE
                                                          AMERICANS WITH DISABILITIES ACT
13             vs.                                        (ADA), FAIR HOUSING ACT (FHA),
                                                          CALIFORNIA DISABLED PERSONS ACT
14
      HOUSING AUTHORITY FOR THE                           (CDPA), UNRUH CIVIL RIGHTS ACT, AND
15    COUNTY OF SACRAMENTO, COUNTY                        FRAUD (CALIFORNIA CIVIL CODE § 1709)
      OF SACRAMENTO, SACRAMENTO                           JURY DEMAND.
16    HOUSING REGIONAL AUTHORITY AND
      DOES ONE THROUGH FIVE.
17
                        Defendants.
18

19

20
     I. JURISDICTION AND VENUE
21
             1. This Court has jurisdiction under 28 U.S.C. § 1331 (federal question jurisdiction) for claims
22
     arising under the Americans with Disabilities Act (42 U.S.C. § 12101 et seq.) And the Fair Housing Act
23
     (42 U.S.C. § 3601 et seq.)
24
             2. This Court has supplemental jurisdiction over Plaintiffs state law claims less than 28 U.S.C. §
25
     1367, including claims under the California Disabled Persons Act (Cal. Civ. Code§ 54 et seq.) and Fraud
26
     (Cal. Civ. Code § 1709).
27
             3. Venue is proper under 28 U.S.C. § 1391 because Defendants operate within this district and
28
     the alleged violations occurred here.

     FARUKI V. SACRAMENTO COUNTY; COMPLAINT.                                                      Page 1 of 5
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 1   II. FACTUAL ALLEGATIONS

 2           4. Plaintiff is a qualified individual with a disability as defined under 42 U.S.C. § 12102 and 42
 3   U.S.C. § 3602(h). Exhibit A
 4           5. Plaintiff is also an elderly person, entitled to additional protections under federal and state
 5   anti-discrimination laws.
 6           6. Defendants are public housing authorities (PHA) responsible for administering Section 8
 7   Housing Choice Vouchers less than 42 U.S.C. § 1437f, and are subject to federal and state housing
 8   discrimination laws.
 9           7. Plaintiff applied for and met all eligibility requirements for a Section 8 Housing Choice
10   Voucher, including income, residency, and disability related needs. Exhibit B
11           8. Over the course of 90 incidents, Defendants denied, delayed, or failed to process Plaintiff's
12   Section 8 voucher application and renewal requests, solely based on Plaintiffs disability and elder status.
13           9. Defendants engaged in a pattern and practice of systemic discrimination, including but not
14   limited to:
15
             •       Refusing to grant a reasonable accommodation for expedited processing of Plaintiffs
16                   voucher.
17
             •       Deliberately delaying the application process while approving non-disabled applicants .
18
             •       Providing false or misleading information about voucher availability and Plaintiffs
19                   eligibility.
20
             •       Failing to make necessary policy modifications in violation of federal and state law.
21
             10. Plaintiff did not sleep on his rights and actively pursued his claims through county and state
22
     agencies' despite:
23
             •       COVID-19 related delays that obstructed normal administrative processing.
24
             •       Undergoing cancer chemotherapy and suffering its severe side effects, including extreme
25
                     fatigue, cognitive impairment, neuropathy and physical weakness.
26
             •       Persistent follow-ups and formal complaints to local, county and state authorities
27
                     regarding Defendant's unlawful denials tolling statutes oflimitations. Exhibit C
28
             11. Despite Plaintiffs diligent efforts, Defendants continued to deny assistance, exacerbating

     FARUKI V. SACRAMENTO COUNTY; COMPLAINT.                                                          Page 2 of 5
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 1   Plaintiffs hardship and leading to severe financial and emotional distress. Exhibit C
 2
 3   FIRST CAUSE OF ACTION - VIOLATIONS OF THE AMERICANS WITH DISABILITIES
 4   ACT (42 U.S.C. § 12101 et seq.)
 5            12. Plaintiff incorporates by reference the allegations set forth in Paragraphs 1-11.
 6            13. Defendants are public entities subject to Title II of the ADA (42 U.S.C. § 12132) and must
 7   ensure equal access to housing assistance programs for individuals with disabilities.
 8            14. Defendants' 90 instances of denying Section 8 vouchers constitute systemic disability
 9   discrimination, in violation of 28 C.F.R. § 35.130.
10
11   SECOND CAUSE OF ACTION - VIOLATIONS OF THE FAIR HOUSING ACT (42 U.S.C. §
12   3601 et seq.)
13            15. Plaintiff incorporates by reference the allegations set forth in Paragraphs 1-14.
14            16. Under 42 U.S.C. § 3604(f), it is unlawful to discriminate in the terms, conditions, or
15   privileges of rental housing based on disability.
16            17. Defendants' 90 denials constitute housing discrimination in violation of the Fair Housing
17   Act.
18

19
     THIRD CAUSE OF ACTION - VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT (CAL.
20
     CIV. CODE § 51)
21
              18. Plaintiff incorporates by reference the allegations set forth in Paragraphs 1-17.
22
              19. Defendants' conduct constitutes 90 separate violations of the Unruh Act.
23
              20. Plaintiff is entitled to statutory damages of $4,000 per violation, totaling $360,000 (90 x
24
     $4,000) under California Civil Code § 52(a).
25

26
     FOURTH CAUSE OF ACTION - VIOLATION OF THE CALIFORNIA DISABLED PERSONS
27
     ACT (CDPA) (CAL. CIV. CODE.§ 54)
28
              21. Plaintiff incorporates by reference the allegations set forth in Paragraphs 1-20.

     FARUKI V. SACRAMENTO COUNTY; COMPLAINT.                                                          Page 3 of 5
          Case 2:25-cv-00507-DJC-CKD                 Document 1         Filed 02/12/25       Page 4 of 35


 1            22. Defendants' conduct constitutes 90 separate violations of the COPA.
 2            23. Plaintiff is entitled to statutory damages of $1000 per violation, totaling $90,000 (90 x
 3   $1,000) under California Civil Code§ 54.3(a).
 4

 5   FIFTH CAUSE OF ACTION - FRAUD (CALIFORNIA CIVIL CODE § 1709)
 6            24. Plaintiff incorporates by reference the allegations set forth in Paragraphs 1-23.
 7            25. Defendants knowingly made false representations and omissions regarding Plaintiffs
 8   eligibility for Section 8 vouchers.
 9            26. Plaintiff relied on Defendant's false statements, causing significant financial harm and
10   emotional distress.
11            27. Defendants' fraudulent conduct was willful, oppressive, and in reckless disregard of
12   Plaintiffs rights, shocking the conscience of the Court, warranting punitive damages under California
13   Civil Code § 3294.
14            28. Plaintiff seeks punitive damages ofup to $546,000 (15 times actual damages).
15
16   PRAYER FOR RELIEF
17   WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
18            A. A declaration that Defendants violated the ADA, FHA, Unruh Act, COPA, and committed
19   fraud;
20
              B. An injunction ordering Defendants to immediately approve Plaintiffs Section 8 vouchers;
21
              C. Actual damages of $36,400;
22
              D. Punitive damages ofup to $546,000 under California Civil Code§ for fraud;
23
              E. Statutory damages of $360,000 under the Unruh Act and $90,000 under the COPA, totaling
24
     $450,000;
25
              F. Attorney's fees and costs;
26
              G. Any other relief the Court deems just and proper.
27

28
     JURY DEMAND

     FARUKI V. SACRAMENTO COUNTY; COMPLAINT.                                                          Page 4 of 5
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 1   Plaintiff demands a trial by jury on all issues so triable.
 2

 3   DECLARATION
 4           I, MEKAL FARUKI, am the Plaintiff in the above-captioned action. I have read the foregoing
 5   Complaint, and I know its contents. The facts stated therein are true and correct to the best of my
 6   knowledge, except as to those matters stated on information and belief, and as to those matters, I believe
 7   them to be true.
 8           I declare under penalty of perjury under the laws of the State of California that the foregoing is
 9   true and correct.
                                                          r-
10           Executed on ----"'~-I.Llr1-i.o.,,::I,£_:::....>...~-=- at Sacramento, California.
11

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13                       MEKAL FARUKI
14                       Plaintiff, In Propria Persona.
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     FARUKI V. SACRAMENTO COUNTY; COMPLAINT.                                                                Page 5 of 5
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                                                            EXHIBIT A
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              Case 2:25-cv-00507-DJC-CKD
STATE OF CALIFORNIA· HEALTH ANO HUMAN SERVICES AGENCY      Document 1        Filed 02/12/25 DEPARTMENT
                                                                                                PageOF7CHILD
                                                                                                        of 35SUPPORT SERVICES

MEDICAL INFORMATION VERIFICATION REPORT
DCSS 0020101/11/151

SECTION II: INSTRUCTIONS FOR LICENSED PHYSICIANS
MERCED Department of Child Support Services needs the following information from
you to verify that the person whose information is listed on page one is either
temporarily, permanently or totally disabled. This means the patient is either
temporarily or permanently unable to perform any work at either his or her usual
occupation or at any other job that he or she could be trained to do. The purpose of
the disclosure requested in Section Ill is to provide information necessary for the
local child support agency to determine the support potential of your patient in case
number: 0470392380-01
SECTION Ill: LICENSED PHYSICIANS STATEMENT
1. Is this patient temporarily disabled?              □ Yes i(No
   If Yes, complete items 3-7 and Section IV. If No, complete item 2.
2. Is this patient totally or permanently disabled? '&r'Yes    □ No
   If Yes, complete items 3-7 and Section IV. If No: complete Section IV.
3. Onset date for this disability: -10n~J.MB~---........----------
4. List diagnosis and prognosis for this patient: IV\ wH ip le YV\~:tl~ooot -
   CQ.klUt •ii\c\A,f'M t-EY - ttq 11Y rt ,s t 11dron i trlivfwt,rvf:                 J:e




6. Date of last examination: ----=-1\~/--1v~/.11CY;;....1:......__ _ _ _ _ _ _ _ _ _ _ __
7. When do you expect this patient to be able to return to work? ()dV:ew:

SECTION IV: LICE·NSED PHYSICIAN CERTIFICATION
I declare under penalty of perjury under the laws of the State of California that
the lnformatlo con                      ned In this report Is true, correct, and complete.

                      (SIGNATURE OF PHYSIC   OR PSYCHOLOGIST)
                                                                                               11 IL1t   t.a
                                                                                                       (O~E)

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                                                                                                                                       pcv87fZJR5
    ,.r91SHRA-                                               PART A APPLICATION
                                                    HOUSING CHOICE VOUCHER PROGRAM (HCV)
                                                                                                                                        DdGNIN

              INV£SllN6 IN COMMUNITIES
     Pleele complele all SICtlorls of this form. If you do not understand a question. you may can to have someone else explain It
    toyou.
     WARlelG: Knowingly making false statements on this pre-appUcation is constdarad FRAUD and may reeu1t in REMOVAL
     FROM THE WAITING LIST..

    • HEAD OF HOUSEHOLD
         LASTNAIIE

                   ........
                                                                STNAIIE                                Homt          Number
                 FARUKI                                              MEKAL                             (  )
                                                                                                            U11•aae Pllone Number
                 5020 Sunshine Lane                                                                    (916l 698-5541
         City                                             state                    Zip Code            EmaU AdclrNa: _ _ _ _ __
                Sacramento                                      CA                      95841                  kfi msn.com
         In ont.. Ia to better serve your needs, pleaae CODJplete the followlag question:
         Do you speak and undcntand Bttglish? YES _ . , ,
         Jf DOtt what.is your primary language? Hmong Vif'.Ul8JIM"# Russian Spanish Other _ _ _ _ __




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                                                'Houeehold

         1>MEKAL KEMAL FARUKI                       SELF                                                                                   YES
         Z)                                                                              0Ywt:}No
         3)                                                                              0Y•0No
         4)                                                                              0Y•0No                              •
         5)                                                                              □ Y• □ No
         G)                                                                              □ Y• □ No
         7)                                                                    .         0Yea0No

     FAMILY INCOME INFORMATION:


                flllnlly llllllblr Name                Income Source                            Amount•                          Preq....eyPer

          MEKAL FARUKI                                   SSI                                  871.00                 ( JWeek DG Month        [) Year
                                                                                                                     [ JWeek [ ] Month       [ ) Y•
                                                                                                                     [ ] Week [ ] Month      [} Year
                                                                                                                      [ JWeek [ ) Month      [ l Year


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                                                    CRIMINAL AND HOTOltXIB!Q·I PBMJ!§ IIWBP
         INYUTINQ IN COMMUNITIES                               AUTBQRIUTJON F9IM


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         cdminal acts which 'WOuld adv-ly affect tho health. safety or welfare of other participants. Such information may be included ill
         c:onviclion RCOl'ds and/or motor vcbidc driving recotda.

         Eld1 adult family member must complete a copy of this authom.ation. Pailwe of any adult member of your
         household to oompldc Chis form may result in the denial or your eligibility.
         I,.       FARUKI                                               MEKAL                               ~MAL
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               INVfSTING IN COIIIIUNlTIES                                                                                  [ ]ModldabPru&aam

         CRIMINAL BACKGROUND SCREENING AND CONVICDON INFORMATION SHEET

         Please answer each question below. If you answer "YES" please fill out information for that hoaachold
         member(s). All arrests and or convictions gardlcaa of outcome {i,e, djpniypf or qpuner4} must be
         J'G9!UKJ
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                                                                                --~ ---     -       --   -   -   -- ---------- - -         -


         !                     ----- -- .                -                              -                        -                             --
              1. Have you or any man.her of your household ever beco evicted from a federally assisted
                  housing program for any drug related criminal activity? ("Yes" subject to disqualification for                                    NO
                  admission)
              2. Have you or any member of your household ever been arrested OR convicted of any crime
                  (misdemeanor or felony) regardless of the age of the applicant or family member 1Vben it
                                                                                                                                                    NO
                                      . .,... driving convictions such as DUI). (List all. lndtldlng those
                  occurred? (This includes
                            • -
                                or --
             If Yes, list detaU: (Use addlUoiw .,..,_ if Pfft.Slllry) List an _ _ ,.::_ of outcome.

                        WHO                                  WHEN                           COUNTY                             CHARGE



                                                                                                                                     .:-
                                                                                                '




            3. & anyone. in your houachold currently on oarole or orobation?                                                                        .NO
           4. Must YOU or anyone in your household R&ister as a drug offr.nder?                                                                     NO
            S. /uo you or anyone in your household subject to lifetime registration u a sex offender in any
         state?                                                                                                                                     NO
                 If Yes, list name of rclistrant and comolete address where currently re2istered:


                                                    -
                                          ~
                                      ' may reSUlt in the denial or your eligibility for this proaram.
         Failure to disclose mminali.z::ory
         Signature:              ,   (/1/J                                                      Date: 8L21L2017
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                                                         Phone (9161440-1390 ICu (916) 449-12851 ww,,.dpJ,qq
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                                                   HOUSING NEED DECLARATION
           INVESTING IN COMMUHITl£5

                                                NAME                                   Home Phone Nulnblr
                                               MEKAL                                   (     )
Current - - Addrea                                        Al'Tnu                       Cell Phone Number
       5020 Sunshine Lane                                                              (916) 698-5541
City                                       Slate             Zip Code                  lleH.lr•--NlnlMlr
       Sacramento                             CA                  9S841                (   )


 Your move-In date for above address: _10_1_1....
                                              /2_0_1_2_ _ _ _ __

 •         Provide a copy of rental/lease agreement for the above address (whether or not you are on the
           rental/lease agreement).
 •         Provide 6 months of utility blR for the above address (Utilities do not include phone or cable
           T.V)

 Please check one or more that best describes your current housing status tor the addrea
 listed above:

 II  I rent a [ 2 1bedroom home or apartment {The lease is in my name). My rent per month Is
 $ 850.00 • and I pay tor utilities $ 150.00  per month.

 □      I rent [   J rooms in a r ] bedroom home or apartment with another person(s) (My name Is
 on the lease). I pay Ofull Ohalf Oless than half of the rent in the amount of $._ _ _ _: I pay
 for utilltie& $._ _ _ _ per month.

 □    I do not have my own home and am staying W i t h - - - - - ~ - - a relatlVe or friend on
 a temporary baSls. (My name is not on the lease.) Per month: I pay$       for rent. and I pay
 $._ _ _ _ for utilities. a I do not pay rent/utilities.
  □      I am living In the _ _ _ _ _ _ _ _ shelter or transitional living facility. I do not pay rent
 or utilities.

  □      I am homeless (living in places not meant for human habitation).
  □      Other, please explain _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                    8/2.1/2017
  Signmm·l!Nl1                                                                                   Date

     Please note that false statements can result in the denial of housing assistance.




                          8aanunento Hou91ng • Redevelopment ligency 630 I ST Slrffl, Bacnmtnto, CA 95814
                                         Phone (916) 440- l390 I fu (916) 449-1215 I D!t,"'1,grg
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               Case 2:25-cv-00507-DJC-CKD                  Document 1           Filed 02/12/25          Page 14 of 35




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     In oidea- to verify that you or someone in your household ii permtlDCDtly diaabled according to HUD'a defiDidon. A.
     bbility to eopp in any 8UbStalltial gainful actMty by reason of any mediClllly determinable phyaicll or mmr.a.1
     impainnent which can be expected to result in death, or which bas lasted or can be expected to laat foi- a continuous
     period of not len than 12 months, or In the case of an individual who bas attained the age of .5S and is blind and unable
     by 1eUOD of IOCh blindness to engage in subllantial, pinful activity requirina skills or ability eomparahle to tbOle of
     any pinful activity iD which be/she bas peviously engaged with 101DC iegularity md over a lllblllll1ill period of time.
     B. Severe chronic disability that:
     a. is aa:dbutable to a mental or physical impairment or combination of mental and physical i.mpli1'mmts;
     b. is manifested before the persan attains age 22;
     c. is likely to continue indefinitely:
     d. results in substantial functional limitations in tmee or more of the following areas of major life activity:
     (1) .elf.are. (2) receptive and rcsponsiv~ language, (3) learnmg. (4) mobility, (5) self-dhection. (6) capacity
     for independent living. (7) ccooomic self-sufficiency;
     e. refleeu tbe person's need for a combination and st.quence of special, interdisciplinary. or -aenerlc care.
     treatment, or other senrices which are of lifelong or extended duration and are individually pJaaned and
     coordiaaled.                                                                                                 •
     C. A person with a physical or mental impairment that:
     a. is expected to be of a long-continued and indefinite duration,
     b. substantially impr.des his/her ability to live mdcpcodently. and
     c. ii of such a nature that such ability could be improved by IDOie suitable housina conditions.

     Please provide a doctor's or other knowledgeable professional contact information below.

     Name: PHILIP FORD, P.A.
     PracticeName     Allmed Medical Center
     Address: 2485 Sunrise Blvd., A, Rancho Cordova 95670
     PboneNumber: (916} 281-2251
     Fax number:_ _ _ _ _ _ _ _ _ _ _ __


     If you or someone in your household is receiving social sccwity disability payments pleue includo • cammt &WIid
     leuer, you do not need to submit your doctors or knowledgeable professional information.


     InwteDcpartuient
     (916) 440-1390




                            lac;rlm.-.to How1ng & Rldevlloplllent Agency 830 l ST Streel, Sacrlrnento. CA 95814
                                            PboDe (916)-440-1390 lfu (916) 449-12151 ,.,,,,,..,,WI
Case 2:25-cv-00507-DJC-CKD   Document 1   Filed 02/12/25   Page 15 of 35
Case 2:25-cv-00507-DJC-CKD   Document 1   Filed 02/12/25   Page 16 of 35
                                           Case 2:25-cv-00507-DJC-CKD   Document 1   Filed 02/12/25   Page 17 of 35
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    ~... . -..-.w'1   ").-....T~1   '- r   -




           tw, Social Security Administration
                 t,\.st<"(I.




                                                                                           Date: August 28, 2017
                                                                                           Claim Number: XXX-XX-2393A
                                                                                                          XXX-XX-2393D1

           MEKAL K FARUKI
           5020 SUNSHINE LN
           SACRAMENTO CA 95841-2627




i   j You asked us for information from your record. The information that you requested is shown
1
    ; below. If you want anyone else to have this information, you may send them this letter.

           Information About Current Social Security Benefits
           Beginning December 2016, the full monthly Social Security benefit before any deductions is
           $871.90.

           We deduct $0.00 for medical insurance premiums each month.

    !       The regular monthly Social Security payment is $871.00.
            ~e must round down to the whole dollar.)


            Social Security benefits for a given month are paid the following month. (For example, Social
            Security benefits for March are paid in April.)

            Your Social Security benefits are paid on or about the third of each month.


            Information About Past Social Seeurity Benefits
            From December 2014 to November 2016, the full monthly Social Security benefit before any
            deductions was $869.30.

            We deducted $0.00 for medical insurance premiums each month.

            The regular monthly Social Security payment was $869.00.
            ~e must round down to the whole dollar.)
     Type ofCase
              Social2:25-cv-00507-DJC-CKD Document 1
                       Security Benefit Information             Filed 02/12/25    Page 18 of 35
     You are entitled to monthly disability benefits.


     Information About Supplemental Security Income Payments
     Beginning January 2017, the current supplemental Security Income payment is $44. 72 .


     This payment amount may change from month to month if income or living situation changes.

     Supplemental Security Income Payments are paid the month they are due. (For example,
     Supplemental Security Income Payments for March are paid in March.)


' ; Type of Supplemental Security Income Payment Information
 i   You are entided to monthly payments as a disabled indMdual .

     Date of Birth Information
     The date of birth shown on our records i


     Medicare Information
     You are entitled to hospital insurance under Medicare beginning June 2014.


     You are entitled to medical insurance under Medicare beginning June 2014.

, . Suspect Social Security Fraud?
     Please visit http://oig.ssa.gov/r or call the Inspector General's Fraud Hotline at 1-800-269-0271
     {TTY 1-866-501-2101}.
     If You Have Questions
     We invite you to visit our web site at www.socialsecurity.gov on the Internet to find general
     information about Social Security. If you have any specific questions, you may caJI us toll-free at
     1--800-772-1213, or call your local office at 866-348-7830. We can answer most questions over
     the phone. If you are deaf or hard of hearing, you may call our TTY number, 1-800-325-0778.
     You can also write or visit any Social Security office. The office that serves your area is located
     at:


                                            SOCIAL SECURITY
                                            910 CIRBY WAY
                                            ROSEVILLE, CA 95661
        Case 2:25-cv-00507-DJC-CKD         Document 1     Filed 02/12/25    Page 19 of 35
If you do call or visit an office, please have this letter with you. It will help us answer your
questions. Also, if you plan to visit an office, you may call ahead to make an appointment This
will help us serve you more quickly when you arrive at the office.
                                       RENTAL AGREEliENT
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                    1!::W
                                                                                                                                                                   .....
5. CASH PAYIIENT: CaseThe   ONner/Agent may demand or require
                         2:25-cv-00507-DJC-CKD                   Q:1111.gthe
                                                           Document   1 Filed exclusive form of payment
                                                                                   02/12/25             of rent
                                                                                                  Page 21       or depOSit of
                                                                                                            of 35
   security If the tenant has previously attempted to pay the Owner!Agent with a check drawn on msuftlcient funds or the 1lll1ant
   has instructed the drawee to stop payment on a check, draft, or order for the payment of money. If the Owner/Agent chooses
   to demand or require cash payment under these circumstances, the Owner/Agent shall give the Resident a written notice
   stating that the payment instrument was dishonored and informing the Resident that the Resident shall pay In cash far a
   period determined by Owner/Agent, not to exceed three months, and ettach a oopy of the dishonored tnstrument IO the notice.
6. TERMINATION: Except as prohibited by law, this Agreement may be terminated by Resident after service upon the
   OWner/Agent of a written 30-day notice of termination of tenancy. Except as prohibited by law, this Agn,emant may be
   tenninatad by the Owner/Agent by service upon the Resident of a written 60-day notice ot termination of tenancy. However,
   Civll Code Section 1946.1 provides that ·1r any tenant or resident has resided in the dwelling for less than one year-. the
   Owner/Agent may terminate this Agreement by service upon the Resident of a written 30-day notice. Any holding~
   thereafter shall result in Resident being liabte to Owner/Agent for daily rental damages equal to the current fair rental value of
   the unit, divided by 30.

7. OCCUP.d,:ANTS: Premises shall be occupied only by the following named person(s):
                                      JJ,:Jtd, iId ~
    A: JJ _ 4Mt..Ya , ff) tfetlrna If "8ffi'i1f
    NMte                                           Name
                                                        - - - - - - - - - - ~SldhdaffJ
                                                                                ~
    Heme                                          Birthdate

8. PROHIBfflONS: Without Owner/Agent's prior written permission as an addendum to this Agreement. no pets. no wated>eds
    or _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ shall be kept or allowed In or aboUt the premtses.
9. QUET ENJOYMENT: Resident shall not violate any criminal or civff law, ordinance or statute In the use and occupancy of the
     premises, commit waste or nuisance, annoy, molest or interfere With any other Resident or neighbor. Ally such action may
     result In the immedlata termination of this Agreement as provided herein and by law.
                                       -.
1-0. REPAIRS AND ALTERATIONS: Except as provided by law, no repairs, decorating or alterations shall be done by Resident
     without OWner/ Agent's prior written consent. Resident shall noUfy Owner/Agent in writing of any repairs or alterations      (
     contemplated. Decorations Include, but are not limited to, painting and wallpapering. Resident shall hold OwnerfAgent       /
     harmle$8 and indemnify Owner/Agent as to any mechanics lien recorclation or proceeding caused by Resk:lenl Resident may\
     not make any alterations to cable or telephone inside wiring (such as may occur when changing te1ecommunicati0ns providers
     or adding phone lines) without prior written consent of the Owner/Agent. The notice shall indude the name, address., and
1    telephone number of any new telecommunication provider. Resident agrees to pay all costs resulting from the aheratlon and
,_ agrees to pay to the Owner/Agent any costs associated with restoring the inside wiring to the ooncfdion at the time of move-In.
 J except for reasonable wear and tear.

11. ACCEPTANCE OF PREMISES: Resident has inspected the premises. furnishings and equipment, and has found them to be
    satisfactory. All plumbing, heating and electrical systems are operative and deemed satisfactory.
1Z CARE. CLEANING, MAINTENANCE AND INSURANCE: Resident agrees to leave the premises in Iha .me condttk>n as it
   was received, subject to normal wear and tear. Except as prohibited by law, Resident shall keep the premises and -fumlture,
   furnishings and appliances, and fixtures, which are rented for Resident's exclusive use. in good order and condition. Up,n .
   move-out, Resident agrees to retum the unit to tt,e same level of cleanliness It was In at the inceptiOn of the tenancy. Resident
   □ is CJ is not (check one) responsible for the upkeep of the yard and landscaping. Resident shall pay Owner/Agent for costs
   to repair, replace-or rebuild any portion of the premises damaged by the Resident. Resident's guests or invitees. ~nt's
   property ts not insured by Owner/Agent. Resk:lent is not a cc,.insured and is expressly exduded from any insun1nCe policy
   held by Owner/Agent which is now in effect or becomes effective during the term of this Agreement.
13. WANER 01= BREACH: The waiver of either party of any breach sh~I not be construed to be a continuing waiver of any
    subsequent breach. The receipt by Owner/Agent of the rent with ~ knoWledge of any vtolatlon of a oovenant or condition
    hereto shall not be deemed a waiver of such breach. No waiver by either party of the provisions l'lefflin shal be deemed to
    have been made unless expressed In writing and signed by an parties to this Rental Agreement.
14. JOINT AND SEVERAL LIABILITY: The undersigned Resident{s), Whether or not in actual possession of the premisee, ~
    jointly and severally liable for all obligations under this Rental Agreement, and shall indemnify Owner/Agent for liabllly arising
    prior to the termination of the Rental Agreement for personal injuries or prq>erty damage caused or permitled by Reslc1ent(s).
    their guests and invitees. This does not waive ·owner/ Agent's duty of care" to prevent personal injury or property damage
    where that duty is Imposed by law.



                    Ctlllfomia Apartment Association Approved Form             Uruutt10nzed Reprocluct1011
                    www.caaneto,g                                               (If 81,rnh. F(;fnl:-, i':-, illt'(Jcll.
                    Fonn 2.0 - Revised 1/07 - ~1'l,7 ~ I Rights Reserved
                    Page 2 of3
  15. ENTRY: California law allows OWner/Agent or his/her emplo}'ee(s} to enter the premises for certain purposes d~normal
                 CaseThe
      business hours.  2:25-cv-00507-DJC-CKD              Document
                            Owner/Agent wiU provide written.110tict      1 Resident
                                                                    to t"9   Filed prior
                                                                                    02/12/25       Page
                                                                                         to the entry      22dwening
                                                                                                      of the  of 35 unit whenever
      requ~ by state law_. (CivU Code Section 1954.) Reside~t•s oorlb>n,plia!"Ce. with Owne~/Agent't _lawful request for en~,i• a
      material breaCh of this Agreement that may be cawe for immediate termination as provided herein and by law.         ; ··~--."
                                                                                                                   Pvjfl \....~ .,J
   f 8. SUBLEfflNO AND ASSIGNMENT: No portion of the premises sf)all be sublet nor this Agreement assighed. ~ attempted
        subletting or assignment by Resident shaU, at the election of Owner/Agent, be an irremediable breach of this Agreement and
       cause for Immediate termination as provided herein and by Jaw.
                                                                  '      \

   17. SALE OF PROPERTY: In the event of the sale or refinance of the property: If Own«/Agent presents to Resident a
       "Resident's Certification of Tenns - Estoppal Certification,· or other similar Estoppel Certification form, Resident agrees to
       execute and deliver Iha certificate acknowledging that this Agreement is unmodified and in ful force and effed. or in full force
       and effect as modified with the consent of Owner/Agent. and stating the modifications. within tan (10) days of written nottca.
       Failure to comply shall be deemed Resident's acknowledgement that the certificate as submil1ed t,r Owner/Agent is true and
       COfflK:t and may be relied upon by any lender or purchaser.

    18. SMOKE DETECTION DEVICE: The premises are equipped with a functioning amoke detection devtce(s), and Resident shall
        be responsible for tesUng the devlee weekly and immediately reporting any problems, rnamtenance or need for ntpaira to

 _
...
        Owner/Agent. If battery operated, Resident is responsible for changing the detector's battery as necessary. Owner/Agent aha
        have a ri9ht to enter the premises to cheek and maintain the smoke detection device as provided by law.

   19. NOTICE: Pursuant to Section 290.48 of the Penal Coda, information about specified registered aex offenders is made
       available to the public via an Internet Web site maintained by the Department of Justice at www.meganslaw.ca.gov.
       Depending on an offender's afminel history, this information will include either the address at which Ute offender resides or
       the community of residence and ZIP Code in which he or she resides.

   20. ADDENDA: By initialing as provided, Resident acknowledges receipt of the following applicable addenda. as indicat841, cople
       of which are attached hereto, and are incorporated as part of this Agreement.
            Resident Policies Addendum             Smoke Detector Addendum               CC&Rs
       ~Move-In/Move-Out Itemization -Pet Addendum                                   --Orug Free Housing A~endum
       --Pest Control Notice Addendum --Asbestos Addendum                            -Propos4tion 65 Bmthure
       -Satellite Addendum                    --Lead OiscJosure Addendum             --Other: _____________
                                                                                     --Other.
       -Pool Rules Addendum                    :=  Mold Notification Addendum

   21. ENTIRE AGREEMENT: Thie Agreement, which includes au attachments referred to above. constttutes the entire Agreement
       betWeen the parties and cannot be modiflad except In writing and signed by all parties, except as permitted by applicable law
       Neither Owner/Agent. nor any agent or emptoyee of Owner/Agent has made any representations or promises other than thoa
       set forth herein.
   22. CREDIT REPORTS: A negative credit report reflecting on your credit history may be submitted to a aedit repof'lfng agency If
       you fail to fulfill the terms of your credit obligations. Resident e><pressly authorizes Owner/Agent (including a COUediOn
       agency) t.o obtain Resident's consumer credit report, Which Owner/Agent may use if attampUng to collect past due rent
       payments, late fees, or other charges from Resident. both during the term of the Agreement and thereafter.

  • 23. ATTORNEYS' FEES: If any legal action or proceeding is brought by either party to enforce any part of this Agreement; the
        prevaUing party shaU recover. in addition to all other relief, reasonable attorneys' fees and court costs, unless one of the
        folloWlnQ two bOxes Is checked:
- ··"-a the prevailing party shall recover. in addition to an other relief, ~ttomeys' fa,& not to exceed $._ __. plus court costs.
       d,,ach party shal be 198ponsible for their own attorneys' fees and court costs.
                                                s) having read and '-lnderslood the foregoing. and receipt of a duplicate original.


                                                                        0...                   Resident




                                                                                                                          $

                       caJifomia Apartment Association. Approved Form
                       www.caanet.o,g               . •
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         P.O. Box 15830, Sacramento, CA 95852-1830
         smud.org

 Account Number: 3235800
 MR MEKAL K FARUKI
 Issue Date: 08121/17
 location:   6020 SUNSHINE LN
             SACRAMENTO 95841
 Rate:       RSGH_E: Std Rate w Asalat Dlao                                                     07/19/1~18116          29
                                                                                                06/20l17-07/19/17



                                ELECTRIC SERVICE CHARGES/C EDITS                            USAGE                    TYPE     RATE         TOTAL
                                Base Usage                                                       924     summer kWh @ o.129100              119.29
                                Energy Assistance Program Discount                                                                          -30.50
                                System Infrastructure Fixed Charge*                                                                           20.00
                                System Infrastructure EAPR discount                                                                          -11.50
                                Solar Surcharge                                                  924                kWh @ 0.001600             1.48
                                Sacramento County Tax"                                                                                         1.34
         2018           2017    State Surcharge*                                                                                               0.27
....__ _ _ _ _ _ _ ___.,.,.) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                                        $100.31

                                ACCOUNT ACTIVITY SINCE LAST STATEMENT
                                Beginning balance from last Statement                                                                       102.93
                                Payment-credit Card                                                                                         -102.93
                                B) PREVIOUS BALANCE                                                                                          $0.00

                                C) TOTAL DUE (A+B)                                                                                       $100.38
                                   Pleu• pay all GUrrent charges by the due dabt to avoid • one-tlm• lat. fM
                                   of up to $1.51 (1.5% of current charges)




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                                                         •s.e e...,.uone on the bac;k~lhepage

                                                                          Please detach and return with your payment                    ID: 322
                               ~                                          Make check payable lo SMUD

                                                                                                                    Account Number: -
                                              N 1 350 408508708150 082217 2137798

                                                                                                                               PAY THIS AMOUNT
                                              MR MEKAL K FARUKI
                                              5020 SUNSHINE LN
                                              SACRAMENTO CA 95841
                                                                                                                                      $100.38 f



                                                                                                                            PO BOX 15555
                                                                                                                            SACRAMENTO CA 95852


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         P.O. Box 15830, Sacramento, CA 95852-1830
         smud.org

 Account Number~
 MR MEKAL K FARUKI
 lnue Date: 07/21/17
 Location:   5020 SUNSHINE LN
             SACRAMENTO 95841
 Rate:       RSGH_E: Std Rate w Assist Da.c                                                  06117/16-07/18116
                            L         umber :      8067 61                                   05119/17    1 17                                                   .81



                                E ECTRIC SERVICE CHARGESICREDITS                         USAGE                               TYPE       RATE                  TOTAL
                                Base Usage                                                    943          SUmnakWh@ 0.129100                                  121.74
                                Energy Assistance Program Discount                                                                                             -30.50
                                System Infrastructure Fixed Charge•                                                                                              20.00
                              System Infrastructure EAPR discount                                                                                               -11.50
                              SotarSurchQrge                      943                                                      kWh@ 0.001600                          1.51
        J A SON DJ I" MAM J J Sacramento County Tax*                                                                                                              1.41
          2016          2011  State Sun:harga-                                                                                                                    0.27
..,___ _ _ _ _ _ _ _ _,..) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                                                             $102,93

                                ACCOUNT ACTIVITY SINCE LAST STATEMENT
                                Beginning balance from last Statement                                                                                           83.«l
                                Payment-Credit card                                                                                                             -83.60
                                B) PREVIOUS BALANCE                                                                                                              $0.00

                                C) TOTAL DUE {A+B)                                                                                                        $102.93
                                   PINN pay all current charges by the due date to avoid a one-time late fN
                                   of up to $1.54 (1.5% of current charges)




                           a sMu o·
                                                *See expl1111t1ons on the back of the page


                                                                    Please detach and retum with your payment                                           ID: 377
                           •                                        Make check payable to SMUD

                                                                                                                           Account Number: 3235800

                                        N 1 307 107407507707 072217 2109823

                                                                                                                                         PAY THIS AMOUNT
                                        MR MEKAL K FARUKI
                                        5020 SUNSHINE LN
                                        SACRAMENTO CA 95841
                                                                                                                                                       $102.93        I

                                                                                                                                    POBOX15555
                                                                                                                                    SACRAMENTO CA g5852



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  QsMuo·
          P.O. Box 15830, Sacramento, CA 95852-1830
          smud.org

   Account N u m b e ~
   MR MEKAL K FARUKI
   Issue Date: 06121/17
  looallon:   5020 SUNSHINE LN
              SACRAMENTO 95841                                 BIiiing Period       05,l191'17.(J6(19t17      32        26.1         $2.61
              RIGH_e: Std Rate w Assist Dl•c                                        05/18116-06/16/16         30        19.7         $1.53
                                                                                    04I 9117.o&l18117



                                 ELECTRIC SERVICE CHARGES/CREDITS               USAGE                       TYPE     RATE             TOTAL
                                 Base Usage                                          539       Summer kWh@ 0.129100                    89.58

    ,:,                          Base Usage
                                 Energy Assistance Program Discount
                                 System Infrastructure Fixed Charge*
                                                                                     297        Winter kWh@ 0.112800                   33.50
                                                                                                                                      --30.50
                                                                                                                                       20.00
    ~1111111111111
          JJASON0JFMAMJ
                                 System Infrastructure EAPR discount
                       Solar Surcharge
                       Sacramento County Tax*
                                                                                      836                  kWh @ 0.001600
                                                                                                                                      -11.50
                                                                                                                                         1.34
                                                                                                                                         0,94
           2018         2017
 _.__ _ _ _ _ _ _ ___.,~late Surcharge*                                                                                                  0.24
                                 A) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                            $83.90

                                 ACCOUNT ACTIVITY SINCE LAST STATEMENT
                                 Beginning balance from last Statement                                                                  47.57
                                 Payment-Credit card                                                                                   -47.57
                                 B)PREVIOUSBALANCE                                                                                      $0.00

                                 C) TOTAL DUE (A+B)                                                                                 $83.60
                                    Please pay all current charges by the due date to avoid a onHlme late fee




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                                                                                                           Account Number: 3235800
                                         N 1306 506706160 062217 2082403
                                                                                                                      PAV THIS AMOUNT
                                         MR MEKAL K FARUKI
                                         5020 SUNSHJNE LN
                                         SACRAMENTO CA 95841                                                                      saa.eo I

                                                                                                                   PO BOX 15555
                                                                                                                   SACRAMENTO CA 95852



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                  Case 2:25-cv-00507-DJC-CKD                    Document 1                            Filed 02/12/25          Page 26 of 35




         P.O. B8x 15830, Sacramento, CA 95852-1830
         smud.org

 Account N u m b e r ~
 MR Ml:KAL K FARUKI
 Issue Data: 05/22/17
 Location:   5020 SUNSHINE LN
             SACRAMENTO 95841                                                                         04/19/17-05/18/17                20.2         $U9
 Rate:       RSGH_IE: Std Rate w Alslat Dlac                                                          04/19116-05/17/18                             $1.32
                                                                                                                                                     1.49



                                 ELECTRIC SERVICE CHARGESICREDITS                                    USAGE                 TYPE     RATE             TOTAL
                                 BaseUsage                                                             606        WinterkWh@ 0.112800                 68.36
                                 Energy Assistance Program Discount                                                                                   -30.50
                                 System Infrastructure Fixed Charge•                                                                                   20.00
                                 System Infrastructure EAPR discount                                                                                  ·11.50
                                 Solar Surcharge                                                       806                kWh @ 0.001800                0.97
                                 Sacramento County Tax*                                                                                                 0.08
      2016            State Surcharge*                                                                                                                 0.18
- - - - - - - - - - -...) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                                                     $47.57

                                 ACCOUNT ACTIVITY SINCE LAST STATEMENT
                                 Beginning balance from last Statement                                                                                43,74
                                 Payment-Credit Card                                                                                                  -43.74
                                 B) PREVIOUS BALANCE                                                                                                   $0.00

                                 C) TOTAL DUE (A+B)                                                                                                 $47.57
                                    Pleue pay all current charges by th• due date to avoid a one-time late fH
                                    of up to $0.71 (1.5% of curmd charges)




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                                                                                                                          Account Number: 3235800

                                         N 1 305106405505705 052317 2054920
                                                                                                                                     PAY THIS AMOUNT
                                         MR MEKAL K FARUKI
                                         5020 SUNSHINE LN
                                         SACRAMENTO CA 95841
                                                                                                                                              $47.57        I

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                                                                                                                                  SACRAMENTO CA 16862



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                                         P.O. Box 15830, Sacramento, CA 95852~ 1830
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            Account Number:
            MR Ml:KAL K FARUKI
            Issue Date: 04/21/17
           Location:                         5020 SUNSHINE LN
                                             SACRAMENTO 95641                                     BllngPeriod           03121/17-Q4/f8'17                 29                      19.6      $1.49
            Rate:                            RSGH_E: 8td Rate w Assist Disc                       Lett Year
                                                                                                 03117(16-04/18/16               33     16.0                $1.23
                                                                    LMt,..,.,_Month~--,.._--02/._1,_7....,11.._7-0.3/2.0l
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                                                                    ELECTRIC SERVICE CHARGES/C              DITS    USAGE                           TYPE                     RATE            TOTAL
                                                                    Base Usage                                           568        Winter kWh@- 0.112800                                      64.07
                                                                    Energy Aaalatanoe Program Discount                                                                                        -30.50
                                                                    System lnft-utructure Fixed Ch$rge*                                                                                       20.00
                                                                    System lnfrastrudure EAPR discount                                                                                        -1'1.50
                                                                    Solar Surcharge                                      568                  kWh@ 0.001600                                     0.91
                                         AM J J ,. so " o J F M,.   State Surcharge•                                                                                                            0.16
                                          2010             2011     A) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                                                $43.1,

                                                                    OTHER CHARGES
                                                                    LATE FEE                                                                                                                    0.60
                                                                    B) TOTAL OTHER CHARGES                                                                                                     $0,80

                                                                    C) TOTAL CURRENT CHARGES {A+ B)                                                                                          $43.74
                                                                    ACCOUNT ACTIVITY SINCE LAST STATEll!;NT
                                                                    Beginning balence from last Statement                                                                                      82.74
                                                                    Payment-Credit card                                                                                                       -82.74




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                                                                                                                                              Account Number: 3235800
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                                                                                                                                                                             PAY THIS AMOUNT
                                                                            MR MEKAL K FARUKI
                                                                            5020 SUNSHINE LN
                                                                            SACRAMENTO CA 95841
                                                                                                                                                                                         $43.74     !

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               Case 2:25-cv-00507-DJC-CKD                       Document 1                Filed 02/12/25          • ;, •• ";<28
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        P.O. Box 15830, Sacramento, CA 95852-1830
        smud.org

Account Number=9111'1
                                                                  Past Due Balance - Due lmmedlately
MR MEKAL K FARUKI                                                 Current Charges, Due 04/19/17
Issue Date: 03/23117                                              Total Amount
Location:   5020 SUNSHINE LN
            SACRAMENTO 95841                                                              02/17/17-03/20/17      32                          $1.33
Rate:       RSGH_E: Std Rate w ANlat Disc                                                 02/19/16-03/16'16                                  $1.21
                                                                                                                                              1.39



                                 ELECTRIC SERVICE CHARGES/CREDITS                     USAGE                    TYPE      RATE                 TOTAL
                                 Base Usage                                                562        WlnterkWh@ 0.112800                       63.39
                                 Energy Assistance Program Discount                                                                            -30..CO

1·=1111111111,1111               System Infrastructure F1Xed Charge*
                                 System Infrastructure EAPR discount
                                 Solar Surcharge                       562                                    kWh @ 0.001600
                                                                                                                                                20.00
                                                                                                                                               -11.50
                                                                                                                                                 0.90
                                                                                                                                                 0.16
        MAMJJASONDJFM            State Sun:harge*
                                 A) TOTAL ELECTRIC SERVICE CHARGES/CREDITS                                                                     $42.55
----------
        2016          2017

                                 ACCOUNT ACTIVITY SINCE LAST STATEMENT
                                 Beginning balance from last Statement                                                                           40.19
                                 8) PREVIOUS BALANCE                                                                                           $40.19

                                 C) TOTAL DUE (A+B)                                                                                          $82.74
                                   Please pay all current chargae by the due date to avoid a one-time late fee
                                   of up to $0.84 (1.5% of current charges)




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                                                                                                              Account Number: 3235800
                                         N 1 303 103403503703 032417 2002307

                                                                                                                         PAY THIS AMOUNT
                                         MR MEKAL K FARUKI
                                         5020 SUNSHINE LN
                                         SACRAMENTO CA 95841
                                                                                                                                         $82.74      I

                                                                                                                      POBOX15565
                                                                                                                      SACRAMENTO CA 95852


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      Case 2:25-cv-00507-DJC-CKD         Document 1    Filed 02/12/25    Page 29 of 35


auto-reply@usps.com                                                Tue, Aug 29 12:09 PM
to Mekal F

USPS Item Delivered, Front Desk/Reception for Shipment
9405503699300090938398
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                                                                 Tracking Number:
                                                      9405503699300090938398
Hello MEKAL K FARUKI,

Thank you for using USPS.com.

This is a post-only message. Please do not respond.

MEKAL K FARUKI has requested that you receive a USPS Tracking® update, as shown below.

USPS Tracking® e-mail update information provided by the U.S. Postal Service.

Tracking Number: 9405503699300090938398

Updated Delivery Date: August 29, 2017

Service Type: USPS Tracking®



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Shipment Activity                         Location                        .   With Partner
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Delivered, Front Desk/Reception           SACRAMENTO, CA 95814 2017
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Out for Delivery                          SACRAMENTO, CA 95814 2017
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Sorting Complete                          SACRAMENTO, CA 95814 2017
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       Case 2:25-cv-00507-DJC-CKD              Document 1    Filed 02/12/25     Page 30 of 35

Arrived at Post Office                          SACRAMENTO, CA 95813 August
                                                                     29,
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Arrived at USPS Regional Facility                                    2017
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Reminder: USPS Tracking® by email


Date of email request: August 28, 2017


Future activity will continue to be emailed for up to 2 weeks from the Date of Request shown above. If
you need to initiate the USPS Tracking® by email process again at the end of the 2 weeks, please do so
at the USPS Tracking® site at http://www.usps.com/shipping/uspstrackingfaqs.htm


Results provided by the U.S. Postal Service.


Want to Track on the go?
You can track your packages using USPS Text Tracking™ by texting your tracking number to 28777
(2USPS™) or selecting the Text Update option on our USPS Tracking® site. Standard Message and Data
Rates may apply.
For more information go to https://www.usps.com/text-tracking/welcome.htm
     Case 2:25-cv-00507-DJC-CKD   Document 1   Filed 02/12/25   Page 31 of 35


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            Case 2:25-cv-00507-DJC-CKD         Document 1      Filed 02/12/25    Page 32 of 35


   !I
                     STATE OF CALIFORNIA-HEALTH ANO HUMAN SEfMCESAGENCY
                     DEPARTMENT OF SOCIAL SERVICES

   -  CDSS
         ....
 KIMJOHNION
   DIRECTOR
                                      State Hearings Division
                        PO Box 944243, MS 9-17-442 Sacramento, CA 94244-2430
                               PHONE: 800-743-8525 FAX: 1-833-281-0905                   •
                                                                                        GA\1N."5W$011
                                                                                         GOVERNOR


                                         REHEARING DENIED
October 18, 2024
RE: SHN-104996696
Your request for a rehearing has been denied. Rehearing request filed by Claimant.

The reason for denial is listed below. For a free interpretation of this letter please call 800-743-8525.
The rehearing request was made more than 30 days after the decision was received, and the
rehearing request does not provide any information about why it was not timely. There is therefore no
basis upon which to find good cause for being untimely, or that equity jurisdiction should apply.
 Even if the rehearing request was timely, the decision is legally correct. Regardless of which agency
administers the program, Sacramento County's actions or inactions relative to Housing Choice
Vouchers is not within the jurisdiction of the State Hearings Division of the California Department of
Social Services.

No rehearing is warranted.

If you still disagree you can go to court. You must ask for court review within one year of the date you
got the original decision. To ask for court review, you must file a "petition" in Superior Court. The law
about the petition is found at California Code of Civil Procedure Section 1094.5. You will not have to
pay court filing fees. If you win in court, and had a lawyer represent you, you may be able to get
reasonable attorney's fees and costs.


~CL.&+
Margaret A. Boyd
Chief Administrative Law Judge
COSS, State Hearings Division
STATE HEARINGS DIVISION

CC:

Sacramento County




023 - Rehearing Denied - Rev 11 /2022 (English)
                   Case 2:25-cv-00507-DJC-CKD                                     Document 1   Filed 02/12/25   Page 33 of 35
                                                    California Department of Social Services


DECISION

Hearing No.104996696

In the Matter of C/aimant(s):

Mekal Faruki
2300 AUBURN BLVD, APT 116
SACRAMENTO, CA 95821-1788
mkf@msn.com



Pursuant to the authority of the Director, I adopt the attached final decision.




Douglas Dicicco
Administrative Law Judge
Adopt Date: June 04, 2024



Hearing Information
Hearing Date: June 04, 2024 03:00 PM

Release Date: June 11, 2024
Aid Pending: NIA
Issue Codes: 1621-2
Language: ENGLISH
Responsible Agency: Sacramento County
Attendees
Attendee Type              Attendee
Hearing Rep:               Diana Arias, Sacramento County




COSS State Hearings Division
Decision Cover Page
   Case 2:25-cv-00507-DJC-CKD           Document 1      Filed 02/12/25 Page 34 of 35
State of California                                         Hearing No. 104996696-602
CDSS State Hearings Division                                                   Page 1

                                        SUMMARY

The Claimant's request for a hearing concerning his application for Housing Choice
Voucher benefits is dismissed due to lack of subject matter jurisdiction.

[1621-2]

                                           FACTS

On March 19, 2024, the Claimant requested a hearing disputing Sacramento County's
(the County) failure to act in response to an application he submitted on August 29,
2017, for Housing Choice Voucher benefits through the Sacramento Housing and
Redevelopment Agency (SHRA).

At the June 4, 2024, hearing, the County Representative and the Claimant appeared by
telephone. The County submitted a Statement of Position (SOP) setting forth its factual
allegations and legal arguments.

The County Representative asked that the March 1, 2024, hearing request be
dismissed, as the only issue the Claimant raised concerned the Housing Choice
Voucher program, and the State Hearings Division does not have jurisdiction over
issues relating to that program.

The Claimant testified that he has researched the jurisdiction issue and believes State
Hearings does have jurisdiction to hear this issue, as State Hearings has jurisdiction
over government agencies and SHRA is a government agency. The Claimant has had
serious health issues and the lack of action on his application for Housing Choice
Voucher benefits is causing significant financial hardship.

                                            LAW

All the regulations cited refer to the Manual of Policies and Procedures (MPP), unless
otherwise noted.

Subject Matter Jurisdiction
A state hearing shall be available to a claimant who is dissatisfied with a county action
or inaction on a county-administered state aid program and requests a hearing.

(§ 22-003.1.)

If any applicant for or recipient of public social services is dissatisfied with any county
department action relating to an application for or receipt of public social services, if the
county does not act upon the application with reasonable promptness, or if any person
who desires to apply for public social services is refused the opportunity to submit a
signed application, they shall be given an opportunity for a state hearing.
   Case 2:25-cv-00507-DJC-CKD           Document 1      Filed 02/12/25 Page 35 of 35
State of California                                         Hearing No. 104996696-602
CDSS State Hearings Division                                                   Page2

(Welf. & Inst. Code, § 10950 (a.).)

"Aid" includes all state and federally funded public assistance programs subject to a
state hearing. These programs include CalWORKs, the state-administered programs for
recipients of SSI/SSP contained in Division 46, the Refugee Resettlement Program
(RRP), the Cuban/Haitian Entrant Program (CHEP), the CalFresh Program, California
Assistance Program for Immigrants (CAPI), the In-Home Supportive Services
Programs, Medi-Cal, Kinship Guardian Assistance Payment Program (Kin-GAP),
AFDC-Foster Care, AFDC-Extended Foster Care (EFC), Approved Relative Caregiver
Funding Option Program (ARC), California Food Assistance Program (CFAP), Aid for
the Adoption of Children Program (AAC), Adoption Assistance Program (AAP),
Multipurpose Senior Services Program (MSSP), and assessments under Harris v.
COSS and the Resource Family Approval (RFA) program.

(§ 22-001 (a)(3)(A).)

A request for hearing shall be dismissed if the issue is not within the jurisdiction of a
state hearing as defined in § 22-003.1 and W&IC § 10950.

(§ 22-054.31.)

                                      CONCLUSION

The Claimant disputed Sacramento County's (the County) failure to act on his
application for Housing Choice Voucher benefits.

A request for state hearing shall be dismissed if the issue is not within the jurisdiction of
a state hearing as defined by the applicable regulations. State hearing jurisdiction exists
only for claims relating to state and federally funded aid programs.

Here, the only issue raised by the Claimant concerns the Housing Choice Voucher
program, which is outside the jurisdiction of state hearings. Because State Hearings
lacks jurisdiction over such issues, the claim must be dismissed.

                                          ORDER

The claim is dismissed.
